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      Exhibit   z
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
     DINO ANTOLlNI ,


                               Plaintiff,
                                                                              Case No.: 1:19-cv-09674
               vs .

     HAROLD THURMAN , BRAD THURMAN
     and 33 BRE INC.,

                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- --x

                              PLAINTIFF'S RESPONSES TO
                       DEFENDANTS' FIRST SET OF INTERROGATORIES



       Plaintiff, DINO ANTOLlNI, by and through his undersigned attorney as and for his

first set of responses for production of documents responds as follows :

       These responses are made solely in relation to the above-captioned action , and

are proffered only for the purpose of responding to the defendants requests All responses

are subject to the objections noted below. Plaintiff reserves the right to object on any

ground to 1) the admissibility or use of any information provided herein in any subsequent

stage or proceeding in this or any other action ; and 2) any other discovery procedure

relating to the subject matter of this Request. Additionally, these responses are given

without prejudice to Plaintiff's right to produce at a later date and/or rely at trial upon

information that is subsequently discovered or inadvertently omitted.

             GENERAL OBJECTIONS AND LIMITATION TO ALL REQUESTS

       Plaintiff hereby incorporates by reference each of the following General Objections

and Limitations ("General Objections") in their responses to each specific Request
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as if specifically set forth therein , in addition to such other specific and further objections

to each Request as noted in each response. Any such specific objections to a particular

Request shall not be construed as a waiver of any of Plaintiff's General Objections, and

any reference to or restatement of a General Objection in the response to a particular

Request shall not limit that General Objection or wa ive any other General Objection .

Unless otherwise specifically stated , Plaintiff's objections to each Request apply to the

entire Request, including each and every subparagraph of each Request.

        1.     Plaintiff objects to each Request to the extent that it is overly broad , seeks

irrelevant, immaterial , or unnecessary information, is not reasonably calculated to lead to

the discovery of relevant or admissible evidence , or is in any way beyond the scope of

disclosure required by the FRCP .

        2.     Plaintiff objects to each Request to the extent that it is duplicative ,

unreasonably cumulative , unduly burdensome, oppressive or unduly expensive to

answer.

        3.     Plaintiff objects to each Request that it calls for a legal conclusion .

        4.     Plaintiff objects to each Request to the extent that the information requested

is a matter of public record or is already in the possession of defendants (including without

limitation any documents already produced in this matter), or that the burden of obtaining

the information would otherwise be less or substantially the same for defendants as for

Plaintiff.

        5.     Plaintiff objects to each Request to the extent that they seek documents

generated subsequent to the commencement of this litigation , on the grounds that such

Requests seek information either not relevant to the subject matter of the litigation , and/or

not reasonably calculated to lead to the discovery of admissible evidence .
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         6.              Plaintiff objects to each Request to the extent that it seeks the production

of information or documents protected from discovery by any privilege, including the

attorney-client privilege (including without limitation documents prepared in anticipation

of litigation by or for Plaintiff or his attorney (or any agents or representatives of Plaintiff

or his attorney) , or documents or information which would disclose the mental

impressions, conclusion , opinions, or legal theories of attorneys or other agents or

representatives of Plaintiff concerning any matters at issue in this litigation) or any other

applicable privilege , immunity, or limitation on discovery. To the extent any protected

information is produced or otherwise disclosed , such production or disclosure is

inadvertent, and Plaintiff shall not be deemed to have waived any privilege with respect

to that or any other information.

             7.          Plaintiff objects to each Request to the extent that it is not limited to a

specific time period relevant to the matter or exceeds the applicable statute of limitations.

             8.          Plaintiff objects to each Request to the extent it seeks personal or

confidential             information   (including   without    limitation   employment     and   financial

information) concerning individuals or entities not involved in this action .

             9.          Plaintiff objects to each Request to the extent that it calls for speculation , is

vague or ambiguous, or otherwise alleged agents or representatives of Defendants who

are not subject to Defendants' control , or to the extent that such information would violate

any privacy interests or other rights of alleged agents or representatives .

             10.         Plaintiff objects to each Request to the extent that it seeks information from

any former, apparent, or otherwise alleged agents or representatives of Defendants who

are not subject to Defendants' control , or to the extent that such information would violate

any privacy interests or other rights of alleged agents or representatives .

                  I I.     Plaintiff objects to each Request to the extent that it seeks information that

        was not created by Plaintiff, or is not currently in the posseSSion , custody , or control of
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  ·'
  Plaintiff or seeks to impose upon Plaintiff an obligation to acquire , review, or otherwise
  have knowledge of information that is in possession of others.
       12.      Plaintiff reserves the right to supplement these responses with any additional

  relevant, responsive , non-privileged documents that is within its possession , custody , or

  control and capable of being ascertained with reasonable diligence.

             Without waiving the General Objections or any objections set forth in response to

  specific Requests , Plaintiff responds within the limits of these objections, as set forth

  below.

                                       RESPONSES

       3.        No steps, nor a ramp .
       4.        The week of September 2, 2019. Electric wheelchair.
       10.       Not applicable.
       12.       All defendants have waived any and all objections to the cost of any repairs ,
                 modifications andlor repairs which is a major component of the readily
                 achievable standard and is part of the record .


              Dated : Syosset, New York
                      October 29, 2020
                                                        lSI
                                                   Stuart H. Finkelstein, Esq .
                                                   Attorney for Plaintiff
                                                   338 Jericho Turnpike
                                                   Syosset, New York 11791
                                                   (718) 261-4900

                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
U.S. mail , the 29 th day of October 2020 to Robert G. Silversmith , Esq ., 39 Broadway , suite
910 New York, NY 10006 the address designated for that purpose by depositing true copy
of same enclosed in one postage paid properly addressed wrapper, in a post office-official
depository under the exclusive care and custody of the United States Postal Service within
New York State and by email: rsilversmith@silversmithassociates .com




                                                            SIS
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                                              Finkelstein Law Group , PLLC
                                              Attorneys fo r Plaintiff
                                              338 Jericho Turnpike Syosset,
                                              New York 11791 Telephone :
                                              (718) 261-4900
